          Case 6:23-bk-12440-RB                       Doc       Filed 06/06/24 Entered 06/06/24 10:51:34                               Desc Main
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 Fill in this information to identify the case:
 Debtor 1
                 Ashley Esquivel
 Debtor 2
                 Todd Diedrich
 (Spouse, if filing)
 United States Bankruptcy Court for the: Central District of California ___________
                                                                          (State)
 Case number 6:23-bk-12440-RB


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                          12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: Wilmington Savings Fund Society, FSB, not                         Court claim no. (if known): 16
in its individual capacity but solely as Legal Title
Trustee of the Bunker Hill Loan Depositary Trust 2019-3

                                                                                    Date of payment change:                     July 1, 2024
                                                                                    Must be at least 21 days after date
Last four digits of any number you use                2045                          of this notice
to identify the debtor's account:



                                                                                    New total payment:                          $2339.72
                                                                                    Principal, interest, and escrow, if any



 Part 1:          Escrow Account Payment Adjustment
1.    Will there be a change in the debtor's escrow account payment?
        No
        Yes.          Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why: ___________________________________________
                       __________________________________________________________________________________________________

                       Current escrow payment:       $571.62                              New escrow payment:         $452.03

Part 2:           Mortgage Payment Adjustment
 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
       debtor's variable-rate note?
        No
        Yes.          Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                       attached, explain why:
                       ___________________________________________________________________________________________________
                       Current Interest Rate:                                             New interest rate:
                       Current principal and interest payment:                               New principal and interest payment:
Part 3:           Other Payment Change
 3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
        Yes.          Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect)

                       Reason for change:

                       Current mortgage payment:                                              New mortgage payment:




Official Form 410S1                                      Notice of Mortgage Payment Change                                                     Page 1
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Debtor 1     Ashley Esquivel
                                                            Document      PageCase
                                                                               2 ofNumber
                                                                                     5 (if known) 6:23-bk-12440-RB
             First Name            Middle Name         Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
 number.
 Check the appropriate box
          I am the creditor.
   I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

           /s/ Shannon Doyle                                                 Date 6/6/2024
     Signature


 Print:               Shannon Doyle___________ Title               Bankruptcy Attorney
                      First name         Middle Name   Last name

 Company              GHIDOTTI | BERGER LLP

 Address              1920 Old Tustin Ave,
                      Number               Street

                      Santa Ana, CA 92705
                      City                 State       Zip Code

 Contact phone        (949) 427-2010                   Email:      bknotifications@ghidottiberger.com
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                                       ACCOUNT Page   3 of 5
                                                  DISCLOSURE   STATEMENT
                                                    PROJECTIONS FOR COMING YEAR


                                                                                                                                                    5002045
                                                                                                                                                   05/28/2024


                                                                                          *POST-PETITION ESCROW ANALYIS
                                                                                  NEW PAYMENT INFORMATION
                                                                                   If you have already received your monthly billing statement, please adjust your
                                                                                   bill to reflect the new payment amount reflected on this statement.

                                                                                    Principal and Interest              $1,887.69
Ashley Esquivel                                                                     Escrow Payment                      $526.92
12914 2nd Street                                                                    Shortage                            ($74.89)
Yucaipa, CA 92399                                                                   Deficiency                          $0.00
                                                                                    Other                               $0.00
                                                                                    Payment Amount                      $2,339.72
                                                                                    Effective Date                      07/01/2024



Citadel Servicing Corporation analyzes your escrow account annually, in accordance with federal regulations, to ensure we collect sufficient funds to
pay escrow items when they are due. The escrow account projection below, is an estimate of activity in your escrow account during the coming year
based on payments anticipated to be made from your account. If you have any questions, you may call our loan servicing department at (949) 900-
6630. Please, give your account number when making inquiries by telephone or in writing. We urge you to keep this statement with your loan records
for comparison with the actual activity in your account at the end of the escrow accounting computation year.
Our records show that you are a debtor in bankruptcy. We are sending this statement to you for informational and compliance purposes only. It is not
an attempt to collect a debt against you.

If your bankruptcy plan requires you to send your regular monthly mortgage payments to the Trustee, you should pay the Trustee instead of us. Please
contact your attorney or the Trustee if you have questions.




                                                                                                                                             Loan Account:
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1920 Old Tustin Avenue, Santa Ana, CA 92705

                                                                     NOTICE OF MORTGAGE PAYMENT CHANGE




Counsel for Debtor(s): Benjamin Heston, bhestonecf@gmail.com
Chapter 13 Trustee: Rod Danielson, notice-efile@rodan13.com
U.S. Trustee: United States Trustee, ustpregion16.rs.ecf@usdoj.gov




           June 6, 2024




Debtor(s):
Todd Diedrich Ashley Esquivel,
12914 2nd Street,
Yucaipa, CA 92399

Judge: Hon. Magdalena Reyes Bordeaux,




 June 6, 2024               Shannon Doyle                                /s/ Shannon Doyle
